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Attorney for Defendant
KEOUDONE PHAOUTHOUM


                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
                                    SACRAMENTO DIVISION


                                                  )
UNITED STATES OF AMERICA,                         )   Case No. CR S 08-389, 08-390, 08-391,
                                                  )
                            Plaintiff,            )   08-392 GEB
                                                  )
        vs.                                       )
                                                  )
                                                  )   STIPULATION AND [PROPOSED]
                                                  )   ORDER TO CONTINUE
KEOUDONE PHAOUTHOUM; et al.,                      )   SENTENCING
                                                  )
                                                  )
                            Defendants.           )
                                                  )
                                                  )

        It is hereby stipulated and agreed to between Plaintiff, UNITED STATES OF
AMERICA, through its counsel of record, Michael M. Beckwith, Assistant United States
Attorney, and Defendant, KEOUDONE PHAOUTHOUM, through his counsel of record,
Joseph J. Wiseman, and without objection from the United States Probation Officer
assigned to this case, that the sentencing of Defendant now scheduled for March 11,
2011, at 9:00 a.m., be rescheduled to April 15, 2011, at 9:00 a.m.
        The parties are entering into this Stipulation to provide additional time for
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_________________________________________________________________________________________________
Stipulation and Proposed Order to Continue Sentencing                 Case No. CR S CRS 08-389-392 GEB
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counsel to coordinate a mutually convenient time to meet with the Laotian interpreter
and the defendant to review the revised PSR.




Dated: February 17, 2011                                Respectfully submitted,

                                                        JOSEPH J. WISEMAN, P.C.


                                                        By: __/s/ Joseph J. Wiseman__
                                                              JOSEPH J. WISEMAN
                                                              Attorney for Defendant
                                                              KEOUDONE PHAOUTHOUM

Dated: February 17, 2011                                BENJAMIN B. WAGNER
                                                        United States Attorney

                                                        By:          /s/ Michael M. Beckwith
                                                                  MICHAEL M. BECKWITH, AUSA
                                                                  Attorney for Plaintiff
                                                                  UNITED STATES OF AMERICA

                                                        ORDER

                        GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
sentencing in the above-captioned case be continued to April 15, 2011 at 9:00 a.m.

Date: 2/24/2011

                                                                    _________________________
                                                                    GARLAND E. BURRELL, JR.
DEAC_ Signatu re-END:
                                                                    United States District Judge

61khh4bb




Stipulation and Proposed Order to Continue Sentencing                           Case No. CR S CRS 08-389 GEB

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